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                             (720 ILCS 5/26-1) (from Ch. 38, par. 26-1)
                             Sec. 26-1. Disorderly conduct.
                              (a) A person commits disorderly conduct when he or she
                         knowingly:
                                 (1) Does any act in such unreasonable manner as to
                             alarm or disturb another and to provoke a breach of the
                             peace;
                                 (2) Transmits or causes to be transmitted in any
                             manner to the fire department of any city, town, village
                             or fire protection district a false alarm of fire, knowing
                             at the time of the transmission that there is no
                             reasonable ground for believing that the fire exists;
                                 (3) Transmits or causes to be transmitted in any
                             manner to another a false alarm to the effect that a bomb
                             or other explosive of any nature or a container holding
                             poison gas, a deadly biological or chemical contaminant,
                             or radioactive substance is concealed in a place where its
                             explosion or release would endanger human life, knowing at
                             the time of the transmission that there is no reasonable
                             ground for believing that the bomb, explosive or a
                             container holding poison gas, a deadly biological or
                             chemical   contaminant,    or   radioactive  substance   is
                             concealed in the place;
                                 (3.5) Transmits or causes to be transmitted in any
                             manner a threat of destruction of a school building or
                             school property, or a threat of violence, death, or bodily
                             harm directed against persons at a school, school
                             function, or school event, whether or not school is in
                             session;
                                 (4) Transmits or causes to be transmitted in any
                             manner to any peace officer, public officer or public
                             employee a report to the effect that an offense will be
                             committed, is being committed, or has been committed,
                             knowing at the time of the transmission that there is no
                             reasonable ground for believing that the offense will be
                             committed, is being committed, or has been committed;
                                 (5) Transmits or causes to be transmitted in any
                             manner a false report to any public safety agency without
                             the   reasonable   grounds    necessary  to  believe   that
                             transmitting the report is necessary for the safety and
                             welfare of the public; or
                                 (6) Calls the number "911" or transmits or causes to
                             be transmitted in any manner to a public safety agency for
                             the purpose of making or transmitting a false alarm or
                             complaint and reporting information when, at the time the
                             call or transmission is made, the person knows there is no
                             reasonable ground for making the call or transmission and
                             further knows that the call or transmission could result
                             in the emergency response of any public safety agency;
                                 (7) Transmits or causes to be transmitted in any
                             manner a false report to the Department of Children and
                             Family Services under Section 4 of the Abused and
                             Neglected Child Reporting Act;
                                 (8) Transmits or causes to be transmitted in any
                             manner a false report to the Department of Public Health
                             under the Nursing Home Care Act, the Specialized Mental
                             Health Rehabilitation Act of 2013, the ID/DD Community
                             Care Act, or the MC/DD Act;
                                 (9) Transmits or causes to be transmitted in any
                             manner to the police department or fire department of any

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                             municipality or fire protection district, or any privately
                             owned and operated ambulance service, a false request for
                             an ambulance, emergency medical technician-ambulance or
                             emergency medical technician-paramedic knowing at the time
                             there is no reasonable ground for believing that the
                             assistance is required;
                                  (10) Transmits or causes to be transmitted in any
                             manner a false report under Article II of Public Act 83-
                             1432;
                                  (11) Enters upon the property of another and for a
                             lewd or unlawful purpose deliberately looks into a
                             dwelling on the property through any window or other
                             opening in it; or
                                  (12) While acting as a collection agency as defined
                             in the Collection Agency Act or as an employee of the
                             collection agency, and while attempting to collect an
                             alleged debt, makes a telephone call to the alleged debtor
                             which is designed to harass, annoy or intimidate the
                             alleged debtor.
                               (b) Sentence. A violation of subsection (a)(1) of this
                         Section is a Class C misdemeanor. A violation of subsection
                         (a)(5) or (a)(11) of this Section is a Class A misdemeanor. A
                         violation of subsection (a)(8) or (a)(10) of this Section is a
                         Class B misdemeanor. A violation of subsection (a)(2), (a)
                         (3.5), (a)(4), (a)(6), (a)(7), or (a)(9) of this Section is a
                         Class 4 felony. A violation of subsection (a)(3) of this
                         Section is a Class 3 felony, for which a fine of not less than
                         $3,000 and no more than $10,000 shall be assessed in addition
                         to any other penalty imposed.
                              A violation of subsection (a)(12) of this Section is a
                         Business Offense and shall be punished by a fine not to exceed
                         $3,000. A second or subsequent violation of subsection (a)(7)
                         or (a)(5) of this Section is a Class 4 felony. A third or
                         subsequent violation of subsection (a)(11) of this Section is
                         a Class 4 felony.
                             (c) In addition to any other sentence that may be imposed,
                         a court shall order any person convicted of disorderly conduct
                         to perform community service for not less than 30 and not more
                         than 120 hours, if community service is available in the
                         jurisdiction and is funded and approved by the county board of
                         the county where the offense was committed. In addition,
                         whenever any person is placed on supervision for an alleged
                         offense    under  this   Section,  the   supervision  shall  be
                         conditioned upon the performance of the community service.
                              This subsection does not apply when the court imposes a
                         sentence of incarceration.
                             (d) In addition to any other sentence that may be imposed,
                         the court shall order any person convicted of disorderly
                         conduct under paragraph (3) of subsection (a) involving a
                         false alarm of a threat that a bomb or explosive device has
                         been placed in a school that requires an emergency response to
                         reimburse the unit of government that employs the emergency
                         response officer or officers that were dispatched to the
                         school for the cost of the response. If the court determines
                         that the person convicted of disorderly conduct that requires
                         an emergency response to a school is indigent, the provisions
                         of this subsection (d) do not apply.
                             (e) In addition to any other sentence that may be imposed,
                         the court shall order any person convicted of disorderly
                         conduct under paragraph (3.5) or (6) of subsection (a) to
                         reimburse the public agency for the reasonable costs of the
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                         emergency response by the public agency up to $10,000. If the
                         court determines that the person convicted of disorderly
                         conduct under paragraph (3.5) or (6) of subsection (a) is
                         indigent, the provisions of this subsection (e) do not apply.
                             (f) For the purposes of this Section, "emergency response"
                         means any condition that results in, or could result in, the
                         response of a public official in an authorized emergency
                         vehicle, any condition that jeopardizes or could jeopardize
                         public safety and results in, or could result in, the
                         evacuation of any area, building, structure, vehicle, or of
                         any other place that any person may enter, or any incident
                         requiring a response by a police officer, a firefighter, a
                         State Fire Marshal employee, or an ambulance.
                         (Source: P.A. 101-238, eff. 1-1-20.)




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